Case 8:21-bk-11710-SC                 Doc 235 Filed 09/21/22 Entered 09/21/22 12:30:58                           Desc
                                       Main Document    Page 1 of 22



 1 D. EDWARD HAYS, #162507
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   MARSHACK HAYS LLP
 5 870 Roosevelt
   Irvine, CA 92620
 6
   Telephone: (949) 333-7777
 7 Facsimile: (949) 333-7778

 8 Attorneys for Creditor,
   HOUSER BROS. CO. dba RANCHO DEL
 9 REY MOBILE HOME ESTATES

10
                                        UNITED STATES BANKRUPTCY COURT
11
                          CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
12
     In re                                                           Case No. 8:21-bk-11710-SC
13
     JAMIE LYNN GALLIAN,                                             Chapter 7
14
                           Debtor.                                   STATUS REPORT IN ADVANCE OF
15                                                                   CONTINUED HEARING ON MOTION FOR
                                                                     RECONSIDERATION OF 7.21.22 ORDER
16                                                                   SUSTAINING HOUSER BROS. CO. DBA
                                                                     RANCHO DEL REY MOBILE HOME
17                                                                   ESTATE’S OBJECTION TO
                                                                     DEBTOR’S CLAIMED HOMESTEAD
18                                                                   EXEMPTION
19                                                                   Date: September 22, 2022
                                                                     Time: 10:00 a.m.
20                                                                   Ctrm: 5C1
                                                                     Location: 411 W. Fourth Street, Santa Ana, CA
21                                                                   92701
22 / / /

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     1
         Notwithstanding the opening of the Courthouse to in-person proceedings, in light of the overwhelming support by the
27       Bar for continued virtual appearances, Judge Clarkson will continue utilizing ZoomGov in a hybrid format, holding the
         majority of hearings by video, with an option for in-person hearings. Please see the calendaring instructions which may
28       be located in the Self-Calendaring section of Judge Clarkson’s webpage for more details and effective dates..
                                                                   1
                             STATUS REPORT RE: DEBTOR’S MOTION FOR RECONSIDERATION
     4880-1284-8131,v.1
Case 8:21-bk-11710-SC          Doc 235 Filed 09/21/22 Entered 09/21/22 12:30:58              Desc
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 1 TO THE HONORABLE SCOTT C. CLARKSON, UNITED STATES BANKRUPTCY JUDGE,

 2 THE DEBTOR, AND ALL INTERESTED PARTIES:

 3            Houser Bros. Co., dba Rancho Del Rey Mobile Home Estates (“Houser Bros.”) files this
 4 status report to advise the Court regarding the status of Debtor’s appeals of the Court’s “Order

 5 Granting Houser Bros. Co. DBA Rancho Del Rey Mobile Home Estates’s Motion Objecting to

 6 Debtor’s Claimed Homestead Exemption in 16222 Monterey Lane, Space #376, Huntington Beach,

 7 CA 92649, Docket No. 95,” entered on August 5, 2022, as Docket No. 177.

 8            The four appeals filed by the Debtor have subsequently been dismissed. See, Request for
 9 Judicial Notice.

10

11

12 DATED: September 20, 2022                   MARSHACK HAYS LLP

13
                                                       /s/ D. Edward Hays
14                                             By:
                                                     D. EDWARD HAYS
15                                                   LAILA MASUD
                                                     BRADFORD N. BARNHARDT
16                                                   Attorneys for Movant and Creditor,
                                                     HOUSER BROS. CO. dba RANCHO DEL
17                                                   REY MOBILE HOME ESTATES

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                                                       2
                          STATUS REPORT RE: DEBTOR’S MOTION FOR RECONSIDERATION
     4880-1284-8131,v.1
Case 8:21-bk-11710-SC                Doc 235 Filed 09/21/22 Entered 09/21/22 12:30:58               Desc
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 1                                       REQUEST FOR JUDICIAL NOTICE
 2
              Houser Bros. Co., dba Rancho Del Rey Mobile Home Estates (“Houser Bros.”), through its
 3
     attorneys Marshack Hays LLP, hereby requests pursuant to Federal Rule of Evidence 201, that this
 4
     Court take judicial notice of the following documents:
 5

 6
       NO.                JUDICIALLY NOTICED DOCUMENTS
 7     1.                 A true and correct copy of the Docket related to U.S. Bankruptcy Appellate Panel
                          Case No. 22-1166, Jamie Gallian v. Houser Bros. Co., et al.
 8
       2.                 A true and correct copy of the Docket related to U.S. Bankruptcy Appellate Panel
 9
                          Case No. 22-1146, Jamie Gallian v. Houser Bros. Co., et al.
10
       3.                 A true and correct copy of the Docket related to U.S. District Court Case No.
11                        8:22-cv-01462-RGK, Jamie Gallian v. Houser Bros. Co., et al.
12     4.                 A true and correct copy of the Docket related to U.S. District Court Case No.
13                        8:22-cv-01454-ODW, Jamie Gallian v. Houser Bros. Co., et al.

14

15

16 DATED: September 20, 2022                          MARSHACK HAYS LLP

17
                                                             /s/ D. Edward Hays
18                                                   By:
                                                           D. EDWARD HAYS
19                                                         LAILA MASUD
                                                           BRADFORD N. BARNHARDT
20                                                         Attorneys for Movant and Creditor,
                                                           HOUSER BROS. CO. dba RANCHO DEL
21                                                         REY MOBILE HOME ESTATES

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                                                             3
                              STATUS REPORT RE: DEBTOR’S MOTION FOR RECONSIDERATION
     4880-1284-8131,v.1
Case 8:21-bk-11710-SC   Doc 235 Filed 09/21/22 Entered 09/21/22 12:30:58   Desc
                         Main Document    Page 4 of 22




                                                            EXHIBIT 1
       Case 8:21-bk-11710-SC                         Doc 235 Filed 09/21/22 Entered 09/21/22 12:30:58                                Desc
                                                      Main Document    Page 5 of 22
9/20/22, 4:46 PM                                                                    22-1166 Docket


                                                                     General Docket
                                                   U. S. Bankruptcy Appellate Panel for the Ninth Circuit
  Bankruptcy Appellate Panel Docket #: 22-1166                                                                             Docketed: 08/18/2022
  Jamie Gallian v. Houser Bros. Co., et al                                                                                  Termed: 09/16/2022
  Appeal From: California Central - Santa Ana
  Fee Status: fee paid

  Case Type Information:
    1) Bankruptcy
    2) Chapter 7 Non-Business
    3) null

  Originating Court Information:
     District: 0973-8 : 8:21-bk-11710-ES
     Presiding Judge: Erithe A. Smith, U.S. Bankruptcy Judge
     Date Filed: 07/09/2021
     Date Order/Judgment:                               Date NOA Filed:                                     Date Rec'd BAP:
     08/05/2022                                         08/18/2022                                          08/18/2022

  Prior Cases:
     22-1149 Date Filed: 07/28/2022                 Date Disposed: 08/03/2022       Disposition: Transferred by election
     22-1155 Date Filed: 08/05/2022                 Date Disposed: 08/18/2022       Disposition: Transferred by election

  Current Cases:
                             Lead                   Member             Start                End
       Related
                             22-1146                22-1149            07/28/2022
                             22-1146                22-1155            08/05/2022
                             22-1146                22-1166            08/18/2022

  Panel Assignment:                Not available



  In re: JAMIE LYNN GALLIAN
               Debtor
  ------------------------------

  JAMIE LYNN GALLIAN                                                           Jamie Lynn Gallian
            Appellant                                                          Direct: 714-321-3449
                                                                               [NTC Pro Se]
                                                                               Unit 376
                                                                               16222 Monterey Lane
                                                                               Huntington Beach, CA 92649
  v.

  HOUSER BROS. CO., dba Rancho Del Rey Mobile Home Estates                     David Edward Hays, Esquire, Counsel
           Appellee                                                            Direct: 949-333-7777
                                                                               [COR LD NTC Retained]
                                                                               Marshack Hays LLP
                                                                               870 Roosevelt Avenue
                                                                               Irvine, CA 92620

  JEFFREY IAN GOLDEN, Trustee                                                  Aaron E. DE Leest
            Appellee                                                           Direct: 310-277-0077
                                                                               [COR LD NTC Retained]
                                                                               Danning, Gill, Israel & Krasnoff, LLP
                                                                               Suite 450
                                                                               1901 Avenue of the Stars
                                                                               Los Angeles, CA 90067-2904

                                                                               Eric P. Israel, Attorney
                                                                               Direct: 310-277-0077
                                                                               [COR LD NTC Retained]
                                                                               Danning, Gill, Israel & Krasnoff, LLP
                                                                               Suite 450


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                                                                                                             EXHIBIT 1, PAGE 4
     Case 8:21-bk-11710-SC                     Doc 235 Filed 09/21/22 Entered 09/21/22 12:30:58          Desc
                                                Main Document    Page 6 of 22
9/20/22, 4:46 PM                                                  22-1166 Docket
                                                               1901 Avenue of the Stars
                                                               Los Angeles, CA 90067-2904

  JANINE JASSO, Esquire                                        Janine Jasso, Esquire
            Appellee                                           Direct: 213-247-6030
                                                               [NTC Pro Se]
                                                               P.O. Box 370161
                                                               El Paso, TX 79937

                                                               Janine Jasso, Esquire
                                                               [Pro Se]
                                                               16025 Warmington Lane
                                                               Huntington Beach, CA 92649

  HUNTINGTON BEACH GABLES HOMEOWNERS ASSOCIATION Robert P. Goe, Esquire, Attorney
           Appellee                              Direct: 949-798-2460
                                                 [COR LD NTC Retained]
                                                 Goe Forsythe & Hodges LLP
                                                 Suite 210
                                                 17701 Cowan
                                                 Building D
                                                 Irvine, CA 92614




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                                                                                            EXHIBIT 1, PAGE 5
       Case 8:21-bk-11710-SC                   Doc 235 Filed 09/21/22 Entered 09/21/22 12:30:58              Desc
                                                Main Document    Page 7 of 22
9/20/22, 4:46 PM                                                 22-1166 Docket

  In re: JAMIE LYNN GALLIAN

                   Debtor

  ------------------------------

  JAMIE LYNN GALLIAN

                   Appellant

  v.

  HOUSER BROS. CO., dba Rancho Del Rey Mobile Home Estates; JEFFREY IAN GOLDEN, Trustee; JANINE JASSO, Esquire;
  HUNTINGTON BEACH GABLES HOMEOWNERS ASSOCIATION

                   Appellees




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                                                                                     EXHIBIT 1, PAGE 6
     Case 8:21-bk-11710-SC                         Doc 235 Filed 09/21/22 Entered 09/21/22 12:30:58                                      Desc
                                                    Main Document    Page 8 of 22
9/20/22, 4:46 PM                                                                  22-1166 Docket

  08/18/2022            1            Received notice of appeal filed in Bankruptcy Court on 08/18/2022, and copy of order. (PI) [Entered:
                   18 pg, 3.4 MB     08/24/2022 01:06 PM]
  08/24/2022            2            Notice to all parties and Bankruptcy Court RE: BAP Case number assigned: CC-22-1166. Sent Bankruptcy
                   17 pg, 214.6 KB   Record Request Form to Bankruptcy Court. (PI) [Entered: 08/24/2022 01:08 PM]
  08/24/2022            3            Received from Bankruptcy Court copy of notice of referral filed in Bk. Ct. 08/18/2022. (PI) [Entered:
                   2 pg, 165.4 KB    08/24/2022 01:12 PM]
  08/29/2022            4            Filed (ECF) Attorney Mr. David Edward Hays, Esquire for Appellee Houser Bros. Co.'s stipulation to dismiss
                   6 pg, 416.2 KB    the case; 08/29/2022 served by: email - Attorney for Appellees: DE Leest, Goe, Hays, Israel; US mail -
                                     Appellant Gallian; Appellee Jasso. [22-1166] (DEH) [Entered: 08/29/2022 07:14 PM]
  09/16/2022            5            ORDER OF DISMISSAL (Lafferty, Taylor and Gan) The stipulations are granted. IT IS ORDERED the
                   2 pg, 143.46 KB   APPEALS ARE DISMISSED. ; [EOD] Date: 09/16/2022. [22-1146, 22-1166] (PI) [Entered: 09/16/2022 12:55
                                     PM]
  09/16/2022            6            CLOSED: Case closed: Dismissed/Other;Procedural termination after other judicial action.. [22-1146, 22-
                                     1166] (PI) [Entered: 09/16/2022 01:07 PM]




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                                                                                                             EXHIBIT 1, PAGE 7
     Case 8:21-bk-11710-SC                     Doc 235 Filed 09/21/22 Entered 09/21/22 12:30:58                  Desc
                                                Main Document    Page 9 of 22
9/20/22, 4:46 PM                                                             22-1166 Docket

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     Documents and Docket Summary
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     Include Page Numbers

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                                                               Transaction Receipt
                                                  BAP for the Ninth Circuit - 09/20/2022 16:46:41
                             PACER Login:            atty311731                Client Code:         9999-001
                             Description:            Docket Report (full)      Search Criteria:     22-1166
                             Billable Pages:         1                         Cost:                0.10




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                                                                                                    EXHIBIT 1, PAGE 8
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                                                            EXHIBIT 2
       Case 8:21-bk-11710-SC                         Doc 235 Filed 09/21/22 Entered 09/21/22 12:30:58                            Desc
                                                     Main Document     Page 11 of 22
9/20/22, 4:47 PM                                                                    22-1146 Docket


                                                                     General Docket
                                                   U. S. Bankruptcy Appellate Panel for the Ninth Circuit
  Bankruptcy Appellate Panel Docket #: 22-1146                                                                         Docketed: 07/22/2022
  Jamie Gallian v. Houser Bros. Co., et al                                                                              Termed: 09/16/2022
  Appeal From: California Central - Santa Ana
  Fee Status: fee paid

  Case Type Information:
    1) Bankruptcy
    2) Chapter 7 Non-Business
    3) null

  Originating Court Information:
     District: 0973-8 : 8:21-bk-11710-ES
     Presiding Judge: Erithe A. Smith, U.S. Bankruptcy Judge
     Date Filed: 07/09/2021
     Date NOA Filed:                                                            Date Rec'd BAP:
     07/21/2022                                                                 07/22/2022

  Prior Cases:
     None

  Current Cases:
                             Lead                   Member             Start                End
       Related
                             22-1146                22-1149            07/28/2022
                             22-1146                22-1155            08/05/2022
                             22-1146                22-1166            08/18/2022

  Panel Assignment:                Not available



  In re: JAMIE LYNN GALLIAN
               Debtor
  ------------------------------

  JAMIE LYNN GALLIAN                                                           Jamie Lynn Gallian
            Appellant                                                          Direct: 714-321-3449
                                                                               [NTC Pro Se]
                                                                               Unit 376
                                                                               16222 Monterey Lane
                                                                               Huntington Beach, CA 92649
  v.

  HOUSER BROS. CO., dba Rancho Del Rey Mobile Home Estates                     David Edward Hays, Esquire, Counsel
           Appellee                                                            Direct: 949-333-7777
                                                                               [COR LD NTC Retained]
                                                                               Marshack Hays LLP
                                                                               870 Roosevelt Avenue
                                                                               Irvine, CA 92620

  JEFFREY IAN GOLDEN, Trustee                                                  Aaron E. DE Leest
            Appellee                                                           Direct: 310-277-0077
                                                                               [COR LD NTC Retained]
                                                                               Danning, Gill, Israel & Krasnoff, LLP
                                                                               Suite 450
                                                                               1901 Avenue of the Stars
                                                                               Los Angeles, CA 90067-2904

                                                                               Eric P. Israel, Attorney
                                                                               Direct: 310-277-0077
                                                                               [COR LD NTC Retained]
                                                                               Danning, Gill, Israel & Krasnoff, LLP
                                                                               Suite 450
                                                                               1901 Avenue of the Stars
                                                                               Los Angeles, CA 90067-2904

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                                                                                                             EXHIBIT 2, PAGE 8
       Case 8:21-bk-11710-SC                   Doc 235 Filed 09/21/22 Entered 09/21/22 12:30:58   Desc
                                               Main Document     Page 12 of 22
9/20/22, 4:47 PM                                                 22-1146 Docket

  In re: JAMIE LYNN GALLIAN

                   Debtor

  ------------------------------

  JAMIE LYNN GALLIAN

                   Appellant

  v.

  HOUSER BROS. CO., dba Rancho Del Rey Mobile Home Estates; JEFFREY IAN GOLDEN, Trustee

                   Appellees




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                                                                                    EXHIBIT 2, PAGE 9
     Case 8:21-bk-11710-SC                         Doc 235 Filed 09/21/22 Entered 09/21/22 12:30:58                                     Desc
                                                   Main Document     Page 13 of 22
9/20/22, 4:47 PM                                                                  22-1146 Docket

  07/22/2022            1             Received notice of appeal filed in Bankruptcy Court on 07/21/2022. (PI) [Entered: 08/02/2022 01:27 PM]
                   6 pg, 2.79 MB

  08/02/2022            2             Filed Party Jamie Lynn Gallian's Motion to Allow Reconsideration Motion to Proceed at Bankruptcy Court.;
                   160 pg, 14.54 MB   filed in bankruptcy court 8/1/22. (PI) [Entered: 08/02/2022 04:39 PM]
  08/24/2022            3             Notice to all parties and Bankruptcy Court RE: BAP Case number assigned: CC-22-1146. Sent Bankruptcy
                   17 pg, 214.72 KB   Record Request Form to Bankruptcy Court. (PI) [Entered: 08/24/2022 10:53 AM]
  08/24/2022            4             Sent BRIEFING ORDER to appellant Jamie Lynn Gallian. Copies to all parties. Appellant Jamie Lynn
                   4 pg, 50.33 KB     Gallian's opening brief due 09/23/2022. (PI) [Entered: 08/24/2022 11:00 AM]
  08/24/2022            5             Received from Bankruptcy Court copy of notice of referral filed in Bk. Ct. 08/18/2022. (PI) [Entered:
                   2 pg, 167.02 KB    08/24/2022 11:55 AM]
  08/29/2022            6             Filed (ECF) Attorney Mr. David Edward Hays, Esquire for Appellee Houser Bros. Co.'s stipulation to
                   6 pg, 385.87 KB    dismiss the case; 08/29/2022 served by: email - Attorney for Appellees: DE Leest, Hays, Israel; US mail -
                                      Appellant Gallian. [22-1146] (DEH) [Entered: 08/29/2022 07:13 PM]
  09/16/2022            7             ORDER OF DISMISSAL (Lafferty, Taylor and Gan) The stipulations are granted. IT IS ORDERED the
                   2 pg, 143.46 KB    APPEALS ARE DISMISSED. ; [EOD] Date: 09/16/2022. [22-1146, 22-1166] (PI) [Entered: 09/16/2022
                                      12:55 PM]
  09/16/2022            8             CLOSED: Case closed: Dismissed/Other;Procedural termination after other judicial action.. [22-1146, 22-
                                      1166] (PI) [Entered: 09/16/2022 01:07 PM]




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                                                                                                          EXHIBIT 2, PAGE 10
     Case 8:21-bk-11710-SC                     Doc 235 Filed 09/21/22 Entered 09/21/22 12:30:58                   Desc
                                               Main Document     Page 14 of 22
9/20/22, 4:47 PM                                                             22-1146 Docket

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                                                               Transaction Receipt
                                                  BAP for the Ninth Circuit - 09/20/2022 16:47:35
                             PACER Login:            atty311731                Client Code:         9999-001
                             Description:            Docket Report (full)      Search Criteria:     22-1146
                             Billable Pages:         1                         Cost:                0.10




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                                                                                                    EXHIBIT 2, PAGE 11
Case 8:21-bk-11710-SC   Doc 235 Filed 09/21/22 Entered 09/21/22 12:30:58   Desc
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                                                            EXHIBIT 3
      Case 8:21-bk-11710-SC                    Doc 235 Filed 09/21/22 Entered 09/21/22 12:30:58                             Desc
                                               Main Document     Page 16 of 22
9/20/22, 4:49 PM                                                      CM/ECF - California Central District

                                                                                                                    CLOSED,MANADR

                          UNITED STATES DISTRICT COURT
              CENTRAL DISTRICT OF CALIFORNIA (Southern Division - Santa Ana)
                     CIVIL DOCKET FOR CASE #: 8:22-cv-01462-RGK


 In Re Debtor Jamie Lynn Gallian                                                           Date Filed: 08/05/2022
 Assigned to: Judge R. Gary Klausner                                                       Date Terminated: 09/01/2022
 Case in other court: USBC Central, 8:21-BK-11710                                          Jury Demand: None
                     USBC Central - BAP, CC: 22-01149                                      Nature of Suit: 422 Bankruptcy Appeal
 Cause: 28:0158 Notice of Appeal re Bankruptcy Matter (BAP)                                (801)
                                                                                           Jurisdiction: Federal Question
 In re Debtor
 Jamie Lynn Gallian


 V.
 Appellant
 Jamie Lynn Gallian                                                   represented by Jamie Lynn Gallian
                                                                                     16222 Monterey Lane Unit 376
                                                                                     Huntington, CA 92649
                                                                                     714-321-3449
                                                                                     PRO SE


 V.
 Appellee
 Houser Bros. Co.                                                     represented by David Edward Hays
 doing business as                                                                   Marshack Hays LLP
 Rancho Del Rey Mobile Home Estate                                                   870 Roosevelth Avenue
                                                                                     Irvine, CA 92620
                                                                                     949-333-7777
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

                                                                                           D Edward Hays
                                                                                           Marshack Hays LLP
                                                                                           870 Roosevelt
                                                                                           Irvine, CA 92620
                                                                                           949-333-7777
                                                                                           Fax: 949-333-7778
                                                                                           Email: ehays@marshackhays.com
                                                                                           ATTORNEY TO BE NOTICED

 Appellee
 Huntington Beach Gables Homeowners                                   represented by Robert P Goe
 Association                                                                         Goe Forsythe and Hodges LLP
                                                                                     17701 Cowan, Building D Suite 210
                                                                                     Irvine, CA 92614

https://ecf.cacd.uscourts.gov/cgi-bin/DktRpt.pl?823517500699091-L_1_0-1                                                            1/2


                                                                                                             EXHIBIT 3, PAGE 12
     Case 8:21-bk-11710-SC                     Doc 235 Filed 09/21/22 Entered 09/21/22 12:30:58                              Desc
                                               Main Document     Page 17 of 22
9/20/22, 4:49 PM                                                        CM/ECF - California Central District

                                                                                             949-798-2460
                                                                                             Fax: 949-955-9437
                                                                                             Email: rgoe@goeforlaw.com
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED


  Date Filed            # Docket Text
  08/05/2022           1 NOTICE OF APPEAL: filed by Appellant Jamie Lynn Gallian Re: Objection to Debtors
                         Claimed and Declared Homestead Exemption entered on 7/28/2022 by Bankruptcy Judge
                         Erithe A. Smith, filed in the Bankruptcy Court on 7/28/2022. Bankruptcy Court case
                         number: 8:21-bk-11710-ES, Adversary number: N/A, BAP case number: CC: 22-1149.
                         (Attachments: # 1 BK Docket) (jtil) (Entered: 08/10/2022)
  08/05/2022           2 NOTICE OF TRANSFER OF APPEAL TO DISTRICT COURT.(jtil) (Entered:
                         08/10/2022)
  08/05/2022           3 NOTICE OF REFERRAL OF APPEAL (ADVERSARY) prepared by the United States
                         Bankruptcy Court on 8/5/2022. (jtil) (Entered: 08/10/2022)
  08/05/2022           4 OPTIONAL APPELLEE STATEMENT OF ELECTION TO PROCEED IN DISTRICT
                         COURT filed by Appellee Houser Bros. Co. Modified on 8/10/2022 (jtil). (Entered:
                         08/10/2022)
  08/10/2022           5 NOTICE REGARDING APPEAL FROM BANKRUPTCY COURT. The appeal has been
                         assigned to Judge R. Gary Klausner. Refer to the Notice for specifics. (jtil) (Entered:
                         08/10/2022)
  08/10/2022           6 NOTICE TO PARTIES OF COURT-DIRECTED ADR PROGRAM filed. (jtil) (Entered:
                         08/10/2022)
  08/29/2022           7 STIPULATION to Dismiss Case pursuant to Stipulation to Dismiss Appeal Without
                         Prejudice filed by Appellee Houser Bros. Co.. (Attachments: # 1 Proposed Order)(Attorney
                         D Edward Hays added to party Houser Bros. Co.(pty:e))(Hays, D) (Entered: 08/29/2022)
  09/01/2022           8 ORDER RE STIPULATION TO DISMISS APPEAL WITHOUT PREJUDICE 7 by Judge
                         R. Gary Klausner that (1) Debtor's Appeal shall be dismissed without prejudice; (2) Debtor
                         may file an appeal of the Order and/or any order on her Reconsideration Motion in the
                         Bankruptcy Court on or before the date that is 14 days after entry of the order on the
                         Reconsideration Motion pursuant to Rule 8002 of the Federal Rules of Bankruptcy
                         Procedure; and (3) Each party shall bear its own attorneys' fees and costs with respect to
                         this appeal. (Made JS-6. Case Terminated.) (jp) (Entered: 09/01/2022)



                                                        PACER Service Center
                                                             Transaction Receipt
                                                               09/20/2022 16:48:59
                                   PACER
                                                  atty311731 Client Code: 9999-001
                                   Login:
                                                  Docket        Search            8:22-cv-01462-RGK End date:
                                   Description:
                                                  Report        Criteria:         9/20/2022
                                   Billable
                                                  2             Cost:             0.20
                                   Pages:


https://ecf.cacd.uscourts.gov/cgi-bin/DktRpt.pl?823517500699091-L_1_0-1                                                             2/2


                                                                                                               EXHIBIT 3, PAGE 13
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                        Main Document     Page 18 of 22




                                                            EXHIBIT 4
      Case 8:21-bk-11710-SC                    Doc 235 Filed 09/21/22 Entered 09/21/22 12:30:58                             Desc
                                               Main Document     Page 19 of 22
9/20/22, 4:50 PM                                                      CM/ECF - California Central District

                                                                                                                    CLOSED,MANADR

                           UNITED STATES DISTRICT COURT
              CENTRAL DISTRICT OF CALIFORNIA (Southern Division - Santa Ana)
                     CIVIL DOCKET FOR CASE #: 8:22-cv-01454-ODW


 In Re Jamie Lynn Gallian                                                                  Date Filed: 08/05/2022
 Assigned to: Judge Otis D. Wright, II                                                     Date Terminated: 08/30/2022
 Case in other court: USBC Central District of California at Santa                         Jury Demand: None
                     Ana, 8:21-bk-11710-ES                                                 Nature of Suit: 422 Bankruptcy Appeal
 Cause: 28:0158 Notice of Appeal re Bankruptcy Matter (BAP)                                (801)
                                                                                           Jurisdiction: Federal Question
 In re Debtor
 Jamie Lynn Gallian


 V.
 Appellant
 Jamie Lynn Gallian                                                   represented by Jamie Lynn Gallian
                                                                                     16222 Monterey Lane Unit 376
                                                                                     Huntington, CA 92649
                                                                                     714-321-3449
                                                                                     PRO SE


 V.
 Appellee
 Houser Bros Co                                                       represented by D Edward Hays
 doing business as                                                                   Marshack Hays LLP
 Del Rey Mobilehome Estates                                                          870 Roosevelt
                                                                                     Irvine, CA 92620
                                                                                     949-333-7777
                                                                                     Fax: 949-333-7778
                                                                                     Email: ehays@marshackhays.com
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

 Appellee
 Huntington Beach Gables Homeowners                                   represented by Robert P Goe
 Association                                                                         Goe Forsythe and Hodges LLP
                                                                                     17701 Cowan, Building D Suite 210
                                                                                     Irvine, CA 92614
                                                                                     949-798-2460
                                                                                     Fax: 949-955-9437
                                                                                     Email: rgoe@goeforlaw.com
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED



https://ecf.cacd.uscourts.gov/cgi-bin/DktRpt.pl?823517500699091-L_1_0-1                                                            1/2


                                                                                                             EXHIBIT 4, PAGE 14
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9/20/22, 4:50 PM                                                       CM/ECF - California Central District

  Date Filed            # Docket Text
  08/05/2022           2 NOTICE OF APPEAL AND STATEMENT OF ELECTION: Re: TENATIVE RULING
                         7/21/2022, UPDATED 7/22/2022 5:46:01PM, HONORABLE EDITHE A. SMITH
                         SUSTAINING HOUSER BROS CO DBA RANCHO DEL REY MOBILEHOME
                         ESTATES OBJECTION TO DEBTOR'S CLAIMED AND DECLARED HOMESTEAD
                         EXEMPTION ON FILE ORANGE COUNTY TAX ASSESSOR EFFECTIVE 2/25/2021,
                         PRIOR TO THE PETITION FOR CHAPTER 7 PETITION entered on 7/28/2022 by
                         Bankruptcy Judge Erithe A. Smith, filed in the Bankruptcy Court on 7/28/2022. Bankruptcy
                         Court case number: 8:21-cv-11710-ES, Adversary number: N/A, BAP case number: CC-
                         1149., filed by appellant Jamie Lynn Gallian. (Attachments: # 1 BK Docket Sheets, # 2
                         BAP Docket Sheets) (ghap) (Entered: 08/10/2022)
  08/05/2022           4 U.S. BANKRUPTCY APPELLATE PANEL OF THE NINTH CIRCUIT TRANSMITTAL;
                         Notice of transfer of appeal to district court; regarding BAP: CC-22-1149. (ghap) (Entered:
                         08/10/2022)
  08/05/2022           5 OPTIONAL APPELLEE STATEMENT RE: ELECTION TO TRANSFER APPEAL TO
                         DISTRICT COURT filed by Appellee Houser Bros Co. (ghap) (Entered: 08/10/2022)
  08/09/2022           1 OBJECTIONS Appellee's Opposition to Appellant's Motion to Allow Reconsideration
                         Motion to Proceed at Bankruptcy Court; with Proof of Service filed by Appellee Houser
                         Bros Co. (Hays, D) (Entered: 08/09/2022)
  08/10/2022           3 NOTICE REGARDING APPEAL FROM BANKRUPTCY COURT. The appeal has been
                         assigned to Judge Otis D. Wright, II. Refer to the Notice for specifics. (ghap) (Entered:
                         08/10/2022)
  08/10/2022           6 NOTICE TO PARTIES OF COURT-DIRECTED ADR PROGRAM filed. (ghap) (Entered:
                         08/10/2022)
  08/29/2022           7 STIPULATION to Dismiss Case filed by Appellee Houser Bros Co. (Attachments: # 1
                         Proposed Order)(Hays, D) (Entered: 08/29/2022)
  08/30/2022           8 ORDER APPROVING STIPULATION TO DISMISS APPEAL WITHOUT PREJUDICE 7
                         by Judge Otis D. Wright, II: 1. Debtors Appeal shall be dismissed without prejudice;2.
                         Debtor may file an appeal of the Order and/or any order on herReconsideration Motion in
                         the Bankruptcy Court on or before the date that is14 days after entry of the order on the
                         Reconsideration Motion pursuant toRule 8002 of the Federal Rules of Bankruptcy
                         Procedure; and 3. Each party shall bear its own attorneys fees and costs with respect to this
                         appeal. The Court VACATES all dates and deadlines. The Clerk of the Court shall close the
                         case. (Made JS-6. Case Terminated.) (lc) (Entered: 08/31/2022)



                                                        PACER Service Center
                                                             Transaction Receipt
                                                               09/20/2022 16:50:24
                                   PACER                       Client
                                                  atty311731                    9999-001
                                   Login:                      Code:
                                                  Docket       Search           8:22-cv-01454-ODW End date:
                                   Description:
                                                  Report       Criteria:        9/20/2022
                                   Billable
                                                  2            Cost:            0.20
                                   Pages:




https://ecf.cacd.uscourts.gov/cgi-bin/DktRpt.pl?823517500699091-L_1_0-1                                                            2/2


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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620.

A TRUE AND CORRECT COPY OF THE FOREGOING DOCUMENT ENTITLED: STATUS REPORT IN ADVANCE
OF CONTINUED HEARING ON MOTION FOR RECONSIDERATION OF 7.21.22 ORDER SUSTAINING
HOUSER BROS. CO. DBA RANCHO DEL REY MOBILE HOME ESTATE’S OBJECTION TO
DEBTOR’S CLAIMED HOMESTEAD EXEMPTION
 will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
September 21, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On September 21, 2022, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

DEBTOR
JAMIE LYNN GALLIAN
16222 MONTEREY LN UNIT 376
HUNTINGTON BEACH, CA 92649

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL: Pursuant to
F.R.Civ.P. 5 and/or controlling LBR, on September 21, 2022, I served the following persons and/or entities by personal
delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
judge will be completed no later than 24 hours after the document is filed.

PURSUANT TO THE COURTROOM POLICIES AND PROCEDURES OF THE HONORABLE ERITHE A. SMITH,
COURTROOM 5A, §VIII. JUDGES’ OR COURTESY COPIES, EXCEPT FOR DOCUMENTS 200 PAGES OR OVER,
INCLUDING EXHIBITS, JUDGE SMITH DOES NOT REQUIRE JUDGES’ COPIES.

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 September 21, 2022                                 Layla Buchanan                               /s/ Layla Buchanan
 Date                                     Printed Name                                           Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): CONTINUED:
     ATTORNEY FOR DEBTOR JAMIE GALLIAN: Bert Briones bb@redhilllawgroup.com,
        helpdesk@redhilllawgroup.com;RedHillLawGroup@jubileebk.net
     ATTORNEY FOR TRUSTEE JEFFREY I GOLDEN (TR): Aaron E DE Leest adeleest@DanningGill.com,
        danninggill@gmail.com; adeleest@ecf.inforuptcy.com
     ATTORNEY FOR CREDITOR and PLAINTIFF THE HUNTINGTON BEACH GABLES HOMEOWNERS
        ASSOCIATION: Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com; goeforecf@gmail.com
     TRUSTEE JEFFREY I GOLDEN (TR): Jeffrey I Golden (TR lwerner@wgllp.com, jig@trustesolutions.net;
        kadele@wgllp.com
     ATTORNEY FOR PLAINTIFF HOUSER BROS. CO.: D Edward Hays ehays@marshackhays.com,
        ehays@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com; cmendoza@marshackhays.com;
        cmendoza@ecf.courtdrive.com
     ATTORNEY FOR CREDITOR and PLAINTIFF THE HUNTINGTON BEACH GABLES HOMEOWNERS
        ASSOCIATION: Brandon J Iskander biskander@goeforlaw.com, kmurphy@goeforlaw.com
     ATTORNEY FOR TRUSTEE JEFFREY I GOLDEN (TR): Eric P Israel eisrael@DanningGill.com,
        danninggill@gmail.com; eisrael@ecf.inforuptcy.com
     ATTORNEY FOR PLAINTIFF HOUSER BROS. CO.: Laila Masud lmasud@marshackhays.com,
        lmasud@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com
     ATTORNEY FOR DEFENDANT RANDALL L NICKEL: Mark A Mellor mail@mellorlawfirm.com,
        mellormr79158@notify.bestcase.com
     INTERESTED PARTY COURTESY NEF: Valerie Smith claims@recoverycorp.com
     U.S. TRUSTEE: United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

4871-0442-7551, v. 1




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
